        Case 1:25-cv-00527-JEB           Document 11        Filed 03/24/25      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
PROJECT ON GOVERNMENT                )
OVERSIGHT, INC.                      )
                                     )
      Plaintiff,                     )
                                     )
              v.                     )                         Civil Action No. 25-527 (JEB)
                                     )
DONALD J. TRUMP, et al.,             )
                                     )
      Defendants.                    )
____________________________________)

              PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65(a) and LCvR 65.1 Plaintiff in the above-

captioned matter hereby moves for a preliminary injunction requiring Defendants pendig final

resolution of this case, including appeals, to collect, maintain, and preserve all their records

pursuant to the requirements of the Federal Records Act and a recordkeeping policy consistent

with the Federal Records Act and implementing guidance from NARA.

       As grounds for this motion Plaintiff respectfully refers the Court to the accompanying

memorandum of points and authorities.

                                                Respectfully submitted,

                                               /s/ Anne L. Weismann
                                               Anne L. Weismann
                                               D.C. Bar No. 298190
                                               5335 Wisconsin Avenue,
                                               N.W. Suite 640
                                               Washington, D.C. 20015
                                               (301) 717-6610
                                               weismann.anne@gmail.com
Dated: March 24, 2025
